   Case 4:23-cv-00114-RH-MAF     Document 118   Filed 07/27/23   Page 1 of 56



               IN THE UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF FLORIDA
                       TALLAHASSEE DIVISION


JANE DOE et al.,

                   Plaintiffs,          Civil No. 4:23-cv-00114-RH-MAF

     v.

JOSEPH A. LADAPO et al.,

                   Defendants.



                 THIRD AMENDED COMPLAINT FOR
          CLASSWIDE DECLARATORY AND INJUNCTIVE RELIEF
    Case 4:23-cv-00114-RH-MAF         Document 118      Filed 07/27/23    Page 2 of 56




                           PRELIMINARY STATEMENT

       1.     This Action, brought by the individual Plaintiffs on behalf of themselves

and all similarly-situated transgender persons in the State of Florida is a federal

constitutional challenge to Senate Bill 254 (“SB 254”), which singles out transgender

minors and adults in order to severely limit, and in the case of minors, completely ban

their ability to obtain established, medically necessary transition-related care.

       2.     SB 254 which took effect on May 17, 2023 (the “Effective Date”),

directed the Florida Boards of Medicine and Osteopathic Medicine (the “Boards”) to

issue rules implementing various provisions of the law, which they have done. Under

SB 254 and its implementing rules, healthcare providers are subject to criminal

penalties if they prescribe or administer any transition-related medications to

transgender minors or violate restrictions on providing care to transgender adults.

These restrictions have no medical purpose and serve only to prevent transgender

people from obtaining needed care.

       3.     The Boards issued rules banning transition-related care for transgender

minors on March 16 and March 28, 2023.1 The Boards issued emergency rules and

associated informed-consent forms on July 7, 2023, implementing SB 254’s

restrictions on access to transition-related care for adults and minors.2 These rules,


1
  Board of Medicine, Rule 64B8-9.019, Fla. Admin. Code, and Board of Osteopathic Medicine,
Rule 64B15-14.014, Fla. Admin. Code, respectively.
2
  Board of Medicine, Emergency Rules 64B8ER23-7 and 64B8ER23-8; Board of Osteopathic
Medicine, Emergency Rules 64B15ER23-9 and 64B15ER23-10.
      Case 4:23-cv-00114-RH-MAF            Document 118   Filed 07/27/23   Page 3 of 56




including the recently adopted emergency rules, and forms are in effect indefinitely.3

The restrictions created by SB 254 and the Boards’ rules and emergency rules,

including the informed-consent forms, are collectively referred to herein as the

“Transgender Medical Restrictions.” When referred to separately, the total ban on

care for minors is referred to as the “transgender medical ban.”

          4.     SB 254’s prohibition on established medical care for transgender minors

violates parents’ fundamental right to make medical decisions to protect the health

and wellbeing of their adolescent children.

          5.     SB 254’s restrictions on the ability of transgender minors and

transgender adults to obtain established medical care also violate the federal Equal

Protection Clause because they discriminate based on transgender status and sex and

do not serve even a legitimate governmental interest, much less a compelling or

important one.          Instead, these restrictions serve only to prevent transgender

adolescents and adults from obtaining safe and effective medically necessary health

care.

          6.     The Plaintiffs seek declaratory and injunctive relief to enjoin

enforcement of the Transgender Medical Restrictions. Without the relief sought,

Plaintiffs will suffer severe, ongoing, and irreparable harm.




3
    See SB 254, Section 5 (Fla. Stat. § 456.52(6)).

                                                  -2-
     Case 4:23-cv-00114-RH-MAF      Document 118      Filed 07/27/23   Page 4 of 56




                                      PARTIES

I.     Transgender Minor Plaintiffs and Their Parents

       7.     Plaintiff Jane Doe is and has at all relevant times been a resident of St.

Johns County, Florida. She is the mother of Plaintiff Susan Doe, an eleven-year-old

transgender girl for whom she also appears in this case as next friend. Susan Doe sues

pursuant to Federal Rule of Civil Procedure 17(c) by and through her parent Jane Doe.

       8.     Plaintiff Brenda Boe is and has at all relevant times been a resident of

Alachua County, Florida. She is the mother of Plaintiff Bennett Boe, a fourteen-year-

old transgender boy for whom she also appears in this case as next friend. Bennett

Boe sues pursuant to Federal Rule of Civil Procedure 17(c) by and through his parent

Brenda Boe.

       9.     Plaintiff Carla Coe is and has at all relevant times been a resident of

Duval County, Florida. She is the mother of Plaintiff Christina Coe, a nine-year-old

transgender girl for whom she also appears in this case as next friend. Christina Coe

sues pursuant to Federal Rule of Civil Procedure 17(c) by and through her parent Carla

Coe.

       10.    Plaintiff Fiona Foe is and has at all relevant times been a resident of

Orange County, Florida. She is the mother of Plaintiff Freya Foe, a ten-year-old

transgender girl for whom she also appears in this case as next friend. Freya Foe sues




                                          -3-
      Case 4:23-cv-00114-RH-MAF      Document 118      Filed 07/27/23    Page 5 of 56




pursuant to Federal Rule of Civil Procedure 17(c) by and through her parent Fiona

Foe.

        11.   Plaintiff Gloria Goe is and has at all relevant times been a resident of Lee

County, Florida. She is the mother of Gavin Goe, an eight-year-old transgender boy

for whom she also appears in this case as next friend. Gavin Goe sues pursuant to

Federal Rule of Civil Procedure 17(c) by and through his parent Gloria Goe.

        12.   Plaintiff Linda Loe is and has at all relevant times been a resident of

Miami-Dade County, Florida. She is the mother of Lisa Loe, an eleven-year-old

transgender girl for whom she also appears in this case as next friend. Lisa Loe sues

pursuant to Federal Rule of Civil Procedure 17(c) by and through her parent Linda

Loe.

        13.   Plaintiff Patricia Poe is and has at all relevant times been a resident of

Miami-Dade County, Florida. She is the mother of Paul Poe, a nine-year-old

transgender boy for whom she also appears in this case as next friend. Paul Poe sues

pursuant to Federal Rule of Civil Procedure 17(c) by and through his parent Patricia

Poe.

II.     Transgender Adult Plaintiffs
        14.   Adult Plaintiff Lucien Hamel is and has at all relevant times been a

resident of Indian River County, Florida. He is an adult transgender man.




                                           -4-
    Case 4:23-cv-00114-RH-MAF           Document 118        Filed 07/27/23     Page 6 of 56




       15.    Adult Plaintiff Olivia Noel4 is and has at all relevant times been a

resident of Florida. She is an adult transgender woman.

       16.    Adult Plaintiff Rebecca Cruz Evia is and has at all relevant times been a

resident of Port St. Lucie, Florida. She is an adult transgender woman.

       17.    Adult Plaintiff Kai Pope is and has at all relevant times been a resident

of Palm Harbor, Florida. He is an adult transgender man.

III.   Defendants
       18.    Defendant Joseph Ladapo, M.D., is sued in his official capacity as the

Surgeon General of the Florida Department of Health, which is responsible for

“protect[ing] and promot[ing] the health” of all Floridians. Fla. Stat. § 20.43 (2022).

The Surgeon General is appointed by the Governor and serves at the pleasure of the

Governor. Fla. Stat. § 20.43(2) (2022). Defendant Ladapo, in his official capacity as

Surgeon General of the Florida Department of Health, initiated the process of the

promulgation of the Transgender Medical Restrictions pursuant to the authority

granted by Fla. Stat. § 20.43(g) (2022), regarding the regulation of health practitioners.

Defendant Ladapo’s official place of business is located in Tallahassee, Leon County,

Florida.




4
 Plaintiff’s legal name is Jae Olivia Noel, but she is known by and uses the name Olivia.
Accordingly, this Third Amended Complaint refers to Plaintiff as Olivia.

                                              -5-
   Case 4:23-cv-00114-RH-MAF        Document 118    Filed 07/27/23   Page 7 of 56




      19.      Defendant Scot Ackerman, M.D., is a member of the Florida Board of

Medicine.

      20.      Defendant Nicholas W. Romanello, Esq., is a member of the Florida

Board of Medicine.

      21.      Defendant Wael Barsoum, M.D., is a member of the Florida Board of

Medicine.

      22.      Defendant Matthew R. Benson, M.D., is a member of the Florida Board

of Medicine.

      23.      Defendant Gregory Coffman, M.D., is a member of the Florida Board of

Medicine.

      24.      Defendant Amy Derick, M.D., is a member of the Florida Board of

Medicine.

      25.      Defendant David Diamond, M.D., is a member of the Florida Board of

Medicine.

      26.      Defendant Patrick Hunter, M.D., is a member of the Florida Board of

Medicine.

      27.      Defendant Luz Marina Pages, M.D., is a member of the Florida Board

of Medicine.

      28.      Defendant Eleonor Pimentel, M.D., is a member of the Florida Board of

Medicine.


                                         -6-
   Case 4:23-cv-00114-RH-MAF     Document 118     Filed 07/27/23   Page 8 of 56




      29.   Defendant Hector Vila M.D., is a member of the Florida Board of

Medicine.

      30.   Defendant Michael Wasylik, M.D., is a member of the Florida Board of

Medicine.

      31.   Defendant Zachariah P. Zachariah, M.D., is a member of the Florida

Board of Medicine.

      32.   Defendant Maria Garcia, Esq., is a member of the Florida Board of

Medicine.

      33.   Defendant Nicole Justice is a member of the Florida Board of Medicine.

      34.   Defendant Watson Ducatel, D.O., is a member of the Florida Board of

Osteopathic Medicine.

      35.   Defendant Tiffany Sizemore Di Pietro, D.O., is a member of the Florida

Board of Osteopathic Medicine.

      36.   Defendant Gregory Williams, D.O., is a member of the Florida Board of

Osteopathic Medicine.

      37.   Defendant Monica M. Mortensen, D.O., is a member of the Florida

Board of Osteopathic Medicine.

      38.   Defendant Valerie Jackson is a member of the Florida Board of

Osteopathic Medicine.




                                       -7-
   Case 4:23-cv-00114-RH-MAF        Document 118      Filed 07/27/23   Page 9 of 56




      39.    Defendant Chris Creegan is a member of the Florida Board of

Osteopathic Medicine.

      40.    Defendant William D. Kirsh, D.O., is a member of the Florida Board of

Osteopathic Medicine.

      41.    The Florida Board of Medicine is made up of fifteen members who are

appointed by the Governor. Fla. Stat. § 458.307(1) (2022). Defendant members of

the Florida Board of Medicine, in their official capacities, each separately and

independently took actions to promulgate Fla. Admin. Code 64B-9.019 pursuant to

their rulemaking authority under Fla. Stat. §§ 458.309 and 458.331(1)(v) (2022).

Further, Defendant members of the Florida Board of Medicine, in their official

capacities, each has the authority to enforce Fla. Admin. Code 64B-9.019, including

taking disciplinary action against any doctor for violating its provisions. Fla. Stat. §

456.072. Defendant members of the Florida Board of Medicine, in their official

capacities, each separately and independently also took actions to promulgate

Emergency Rules 64B8ER23-3, 64B8ER23-7, and 64B8ER23-8, pursuant to their

rulemaking authority under Fla. Stat. § 456.52(6) (2023). The Florida Board of

Medicine is based and headquartered in, and the official place of business for the

Defendant members of the Florida Board of Medicine is, Tallahassee, Leon County,

Florida.




                                          -8-
   Case 4:23-cv-00114-RH-MAF      Document 118     Filed 07/27/23   Page 10 of 56




       42.    The Florida Board of Osteopathic Medicine is made up of seven

members who are appointed by the Governor. Fla. Stat. § 459.004(1) (2022).

Defendant members of the Florida Board of Osteopathic Medicine, in their official

capacities, each separately and independently took actions to promulgate Fla. Admin.

Code 64B15-14.014 pursuant to their rulemaking authority under Fla. Stat. §§ 459.005

and 459.015(1)(z) (2022). Further, Defendant members of the Florida Board of

Osteopathic Medicine, in their official capacities, each has the authority to enforce

Fla. Admin. Code 64B15-14.014, including taking disciplinary action against any

doctor for violating its provisions. Fla. Stat. § 456.072. Defendant members of the

Florida Board of Osteopathic Medicine, in their official capacities, each separately

and independently also took actions to promulgate Emergency Rules, 64B15ER23-9,

and 64B15ER23-10, pursuant to their rulemaking authority under Fla. Stat. §

456.52(6) (2023).    The Florida Board of Osteopathic Medicine is based and

headquartered in, and the official place of business for the Defendant members of the

Florida Board of Osteopathic Medicine is, Tallahassee, Leon County, Florida.

       43.    Defendant Melissa Nelson is the State Attorney for Florida’s Fourth

Judicial District.

       44.    Defendant William Gladson is the State Attorney for Florida’s Fifth

Judicial District.




                                        -9-
  Case 4:23-cv-00114-RH-MAF         Document 118      Filed 07/27/23   Page 11 of 56




      45.    Under Florida’s Constitution, State Attorneys serve as prosecutors

representing the people in criminal courts. Fla. Const. art. 5, § 17. State Attorneys

initiate investigations if there is reason to believe a crime has occurred and an

investigation is warranted, review criminal investigations and complaints submitted

by law enforcement agencies, the Governor, and others, and decide whether or not to

file formal charges and present these cases in court. Accordingly, the Defendant State

Attorneys, in their official capacities, have the authority to enforce the criminal

sanctions provisions of SB 254, discussed herein.

                          JURISDICTION AND VENUE

      46.    The Plaintiffs seek redress for the deprivation of their rights secured by

the United States Constitution. This Action is initiated pursuant to 42 U.S.C. § 1983

to enjoin the Defendants from enforcing the Transgender Medical Restrictions and for

a declaration that the Transgender Medical Restrictions violate federal law.

      47.    This Court has subject matter jurisdiction over the claims asserted herein

pursuant to 28 U.S.C. §§ 1331 and 1343.

      48.    This Court has personal jurisdiction over the Defendants because the

Defendants are domiciled in Florida and the denial of the Plaintiffs’ rights guaranteed

by federal law arises out of and relates to the Defendants’ official duties in Florida.




                                          -10-
     Case 4:23-cv-00114-RH-MAF      Document 118      Filed 07/27/23    Page 12 of 56




        49.   Each of the Defendants is a resident of the State of Florida and serve in

their official capacity for a government office for the State of Florida. Therefore,

venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(1).

        50.   The Transgender Medical Restrictions violate the constitutional rights of

the Plaintiffs in this judicial district. Therefore, venue is also proper in this district

pursuant to 28 U.S.C. § 1391(b)(2).

        51.   Venue is proper in the Tallahassee Division of the Northern District of

Florida under N.D. Fla. Loc. R. 3.1(B) because it is the location of the principal place

of business for a majority of the Defendants and where a substantial portion of the

acts or omissions complained of herein occurred.

        52.   This Court has authority to enter a declaratory judgment and to provide

preliminary and permanent injunctive relief pursuant to Fed. R. Civ. P. 57 and 65, 28

U.S.C. §§ 2201 and 2202, and this Court’s inherent equitable powers.

                            FACTUAL ALLEGATIONS

I.      Gender Identity and Gender Dysphoria
        53.   Gender identity is an innate, internal sense of one’s sex and is an

immutable aspect of a person’s identity. It is an essential element of human identity

and a well-established concept in medicine. Everyone has a gender identity. Most

people’s gender identity is consistent with their birth sex. Transgender people,

however, have a gender identity that differs from their birth sex. Being made to live



                                          -11-
    Case 4:23-cv-00114-RH-MAF          Document 118        Filed 07/27/23     Page 13 of 56




inconsistently with a person’s gender identity causes discomfort and distress and can

interfere with a person’s ability to function in a productive and healthy way in matters

of daily living.

       54.     Gender dysphoria is the clinical diagnosis for the distress that arises

when a transgender person cannot live in a manner consistent with their gender

identity. To be eligible for a diagnosis of gender dysphoria, a young person or adult

must meet the criteria set forth in the American Psychiatric Association’s Diagnostic

and Statistical Manual of Mental Disorders, Fifth Edition (the “DSM-5”).5 If left

untreated, gender dysphoria can cause anxiety, depression, and self-harm, including

suicidality.

       55.     In fact, 56% of transgender youth reported a previous suicide attempt

and 86% of them reported suicidality. See Ashley Austin, Shelley L. Craig, Sandra

D. Souza, and Lauren B. McInroy (2022), Suicidality Among Transgender Youth:

Elucidating the Role of Interpersonal Risk Factors, J. of Interpersonal Violence, Vol.

37 (5-6) NP2696-NP2718.

       56.     The DSM-5 reports a prevalence of gender dysphoria in natal adult males

ranging from 0.005% to 0.014%, and for natal females from 0.002% to 0.003%.


5
  Earlier editions of the DSM included a diagnosis referred to as “Gender Identity Disorder.” The
DSM-5 noted that Gender Dysphoria “is more descriptive than the previous DSM-IV term gender
identity disorder and focuses on dysphoria as the clinical problem, not identity per se. Being
diagnosed with gender dysphoria “implies no impairment in judgment, stability, reliability, or
general social or vocational capabilities.” Am. Psychiatric Ass’n, Position Statement on
Discrimination Against Transgender & Gender Variant Individuals (2012).

                                              -12-
  Case 4:23-cv-00114-RH-MAF        Document 118     Filed 07/27/23      Page 14 of 56




However, the DSM-5 states that these rates are likely “modest underestimates.” Other

studies have measured the proportion of the population that self-identified as

transgender or gender incongruent and found that measuring self-identity yields

higher numbers. For example, in 2016, data from the Center for Disease Control’s

Behavioral Risk Factor Surveillance System suggested that 0.6% of U.S. adults

identify as transgender. Florida is estimated to have the second-largest population of

transgender adults in the U.S., with roughly 95,000 adults identifying as transgender.

With respect to transgender minors, the Williams Institute estimates 16,200

transgender minors residing in Florida. Herman, et al., Williams Institute.

      57.    Research has shown that an individual’s gender identity is innate and

cannot be changed. In the past, mental health professionals sought to treat gender

dysphoria by attempting to change the person’s gender identity to match their birth

sex; these efforts were unsuccessful and caused serious harms. Today, the medical

profession recognizes that such efforts put transgender minors and adults at risk of

profound harm, including dramatically increased rates of suicidality.

      58.    Gender dysphoria is highly treatable.       Health care providers who

specialize in the treatment of gender dysphoria follow well-established standards of

care and clinical practice guidelines that have been adopted by the major medical and

mental health associations in the United States including, but not limited to, the

American Medical Association, the American Academy of Pediatrics, the American


                                         -13-
  Case 4:23-cv-00114-RH-MAF        Document 118     Filed 07/27/23   Page 15 of 56




Association of Child and Adolescent Psychiatrists, the Pediatric Endocrine Society,

the American Psychiatric Association, the American Psychological Association, and

the Endocrine Society.

      59.    The standards of care for treatment of transgender people, including

transgender youth and adults, were initially developed by the World Professional

Association for Transgender Health (“WPATH”), an international, multidisciplinary,

professional association of medical providers, mental health providers, researchers,

and others, with a mission of promoting evidence-based care and research for

transgender health, including the treatment of gender dysphoria. WPATH published

the most recent edition of its standards of care for the treatment of gender dysphoria

in minors and adults in 2022, Standards of Care for the Health of Transgender and

Gender Diverse People, Version 8. (Coleman E, Radix AE, Bouman WP et al.

Standards of Care for the Health of Transgender and Gender Diverse People, Version

8. Int. J. Transgend. 2022 Sept. 6;23 (suppl. 1): S1-S259.)

      60.    The Endocrine Society has also promulgated a standard of care and

clinical practice guidelines for the provision of hormone therapy as a treatment for

gender dysphoria in minors and adults. See Wylie C. Hembree et al., Endocrine

Treatment of Gender-Dysphoric/Gender-Incongruent Persons: An Endocrine Society

Clinical Practice Guideline, 102 J. Clin. Endocrinol. Metab. 3869 (2017).




                                        -14-
  Case 4:23-cv-00114-RH-MAF        Document 118      Filed 07/27/23    Page 16 of 56




      61.    The American Medical Association, the American Academy of

Pediatrics, the American Association of Child and Adolescent Psychiatrists, the

Pediatric Endocrine Society, the American Psychiatric Association, the American

Psychological Association, and other professional medical organizations also follow

the WPATH and Endocrine Society standards of care and clinical practice guidelines.

      62.    The treatment of gender dysphoria is designed to reduce a transgender

person’s clinically significant distress by permitting them to live in alignment with

their gender identity. Undergoing treatment for gender dysphoria is commonly

referred to as “transition,” “gender transition,” or “gender-affirming care.” There are

several components to the gender transition process.

      63.    The precise treatment of gender dysphoria depends on an individualized

assessment of a patient’s needs.

      64.    Treatment of gender dysphoria in adults and adolescents is well-

established. The WPATH “Standards of Care” set forth the range of ways in which

gender dysphoria can be treated, including by social transition, hormone therapy, and

a range of surgeries.

      65.    Social transition involves a transgender person taking measures to live

in accordance with their gender identity in all aspects of life. For transgender boys or

men, it means living fully as a boy or man; for transgender girls or women, it means

living fully as a girl or woman. Social transition can include adopting a name,


                                         -15-
  Case 4:23-cv-00114-RH-MAF          Document 118      Filed 07/27/23    Page 17 of 56




pronouns, hairstyle, and clothing consistent with that person’s gender identity. The

steps a transgender person takes as part of their social transition help align their gender

identity with all aspects of everyday life.

      66.    For adolescents, gender transition may also involve taking prescribed

medications, puberty blockers and hormones, to bring a person’s body into alignment

with their gender identity.

      67.    There are no medications prescribed to transgender children before they

have begun puberty.

      68.    For a transgender adolescent who has begun puberty, puberty-blocking

medication prevents the patient from going through the physical developments

associated with puberty that exacerbate the distress experienced by the incongruence

between the patient’s gender identity and their body. As such, under the Standards of

Care and clinical practice guidelines, puberty-blocking medication may become

medically necessary and appropriate after a transgender adolescent reaches puberty to

minimize or prevent the exacerbation of gender dysphoria and the permanent physical

changes that puberty would cause. In providing medical treatments to adolescents,

pediatric physicians and endocrinologists work in close consultation with qualified

mental health professionals experienced in the diagnosis and treatment of gender

dysphoria.




                                           -16-
  Case 4:23-cv-00114-RH-MAF        Document 118      Filed 07/27/23   Page 18 of 56




        69.   For older transgender adolescents and adults, hormone therapy may also

be medically necessary to bring their body into alignment with their gender identity

and further treat the gender dysphoria they may experience without treatment.

        70.   For transgender adults, transition-related surgeries may be required to

treat symptoms of gender dysphoria by better aligning their primary or secondary sex

characteristics with their gender identity and thus alleviate gender dysphoria.

        71.   Treatments for gender dysphoria are highly effective for people of all

ages.    Longitudinal studies have shown that transgender children with gender

dysphoria who receive essential medical care, including puberty blockers and

hormones, show levels of mental health and stability consistent with those of non-

transgender children. Lily Durwood et al., Mental Health and Self-Worth in Socially

Transitioned Transgender Youth, 56 J. Am. Acad. Child & Adolescent Psychiatry 116

(2017); Kristina Olson et al., Mental Health of Transgender Children Who are

Supported in Their Identities, 137 Pediatrics 1 (2016). In contrast, transgender

children with gender dysphoria who do not receive appropriate medical care are at

risk of serious harm, including dramatically increased rates of suicidality and serious

depression.

        72.   Studies demonstrate that transition-related care contributes to improved

well-being in adults as well. See Tim C. van de Grift et al., Effects of Medical

Interventions on Gender Dysphoria and Body Image: A Follow-Up Study, 79(7)


                                         -17-
  Case 4:23-cv-00114-RH-MAF        Document 118      Filed 07/27/23   Page 19 of 56




Psychosom. Med. 815 (2017); Anthony N. Almazan et al., Association Between

Gender-Affirming Surgeries and Mental Health Outcomes, 156 JAMA Surgery 611,

611 (2021); Friedemann Pfäfflin & Astrid Junge, Sex Reassignment. Thirty Years of

International Follow-up Studies After Sex Reassignment Surgery: A Comprehensive

Review, 1961-1991 (1998).

      73.    Every leading medical organization in the U.S. has recognized that

transition-related care is a medically necessary, safe, and effective treatment for

gender dysphoria, and that access to such treatment improves the health and well-

being of transgender people. Many of these groups have voiced strong opposition to

restrictions on care like those imposed by SB 254.

      74.    Advanced practice registered nurses (“APRNs”) in Florida are advanced

practice nurses who may be certified to practice autonomously in the field of primary

care practice, which is defined by administrative regulation as “physical or mental

health promotion, assessment, evaluation, disease prevention, health maintenance,

counseling, patient education, diagnosis and treatment of acute and chronic illnesses,

inclusive of behavioral and mental health conditions.” Fla. Admin. Code Ann. 64B9-

4.001(12) (2021).

      75.    Certified nurse practitioners (“NPs”) are a type of APRN that are

qualified to diagnose gender dysphoria and recommend and prescribe appropriate

medical treatment, such as puberty blockers and hormones. NPs have completed


                                        -18-
  Case 4:23-cv-00114-RH-MAF        Document 118      Filed 07/27/23   Page 20 of 56




advanced education and training that includes years of higher medical education

beyond the required registered nurse degree and at least 1000 hours of clinical

practice. Florida law provides that autonomous practice APRN NPs may practice

medicine independently, including prescribing medication, and without the direct

supervision of a physician. Fla. Stat. § 464.0123. Non-autonomous practice NPs can

prescribe with a collaborative practice agreement and protocol with a physician. Fla.

Stat. § 464.012(3). The range of tasks NPs may perform in autonomous practice

includes diagnosing illness, ordering and interpreting diagnostic tests, prescribing

medications, and managing patient care. To the extent there are limits on their ability

to prescribe medications, they are the same limitations imposed on physicians.

      76.    Numerous studies demonstrate that NPs administer medical services

safely, achieve high quality results, and that patient satisfaction with NPs and their

willingness to be seen by NPs is high. Hilary Barnes, et al., Physician Practices

Increasingly Rely On Nurse Practitioners, 37(6) Health Aff. 908 (2018).

      77.    NPs can offer high quality and safe care for transgender patients

comparable to that provided by physicians, as they have been doing for decades before

passage of SB 254. There is no legitimate medical reason to bar NPs from prescribing

or administering hormone therapy to transgender patients, and doing so will serve only

to harm transgender people by preventing them from receiving medically needed care.




                                         -19-
  Case 4:23-cv-00114-RH-MAF        Document 118      Filed 07/27/23    Page 21 of 56




      78.    As a result of SB 254’s arbitrary prohibition on any qualified medical

provider other than a physician, including NPs, from prescribing, administering or

performing transition-related health care, many transgender adults are unable to obtain

needed medical care because they are transgender. This is true both because there are

not enough physicians to provide the care necessary throughout the state and because

many patients do not have access to physicians in proximity to where they live. This

restriction also results in transgender patients being unable to obtain care in a timely

manner, resulting in long delays that cause harm to their health.

      79.     Throughout Florida, many transgender patients receive transition-

related health care from an NP. SB 254 prevents patients from receiving medical care

from qualified medical providers because the patients are transgender and for no

legitimate reasons, causing serious harms.

      80.    These harms will increase over time given the number of transgender

patients who need medical care and the dearth of available physicians. The number

of practicing NPs in the state of Florida is approximately 33,231. The number of

practicing APRNs in the state of Florida is approximately 50,805. The number of

autonomous practice NPs licensed in the state of Florida is approximately 9,181. The

number of practicing MDs in the state of Florida is approximately 83,350 and the

number of practicing DOs is approximately 11,381. Studies commissioned by the

Florida Safety Net Hospital Alliance and the Florida Hospital Association estimate


                                         -20-
      Case 4:23-cv-00114-RH-MAF    Document 118     Filed 07/27/23   Page 22 of 56




that Florida will have a shortfall of approximately 18,000 practicing physicians by

2035. In fact, this predicted shortage was a key reason Florida’s autonomous practice

APRN law (Fla. Stat. § 464.0123) was passed.

II.      The Boards’ Pre-SB 254 Bans on Care for Transgender Minors

         81.   On June 2, 2022, Defendant Ladapo sent a letter to the Boards asking

them to “establish a standard of care” for the treatment of gender dysphoria,

notwithstanding the widely accepted standards of care and clinical practice guidelines

established by WPATH and the Endocrine Society.

         82.   On July 28, 2022, the Florida Department of Health sent the Boards a

“Petition to Initiate Rulemaking,” asking the Board, among other things, to adopt a

categorical ban on all treatment of gender dysphoria for people under eighteen years

of age.

         83.   On August 5, 2022, the Boards discussed the June 2, 2022 letter from

Dr. Ladapo and the July 28, 2022 Petition to Initiate Rulemaking. The Boards voted

to accept the Petition to Initiate Rulemaking.

         84.   On September 1, 2022, the Boards each published a Notice of

Development of Rulemaking in the Florida Administrative Register (F.A.R.),

proposing “rule development to clarify the practice standards for treatment of gender

dysphoria in minors.”




                                         -21-
  Case 4:23-cv-00114-RH-MAF       Document 118     Filed 07/27/23    Page 23 of 56




      85.    On October 14, 2022, the Boards each published a Notice of Rule

Workshop, which would take place on October 28, 2022.

      86.    On October 28, 2022, the Boards held a Joint Workshop regarding the

development of a rule related to “Practice Standards for the Treatment of Gender

Dysphoria.” At the conclusion of the meeting, the Boards voted in support of

proposed rules that would ban puberty blockers and hormones, with an exception for

treatment performed as clinical trials under the auspices of the Institutional Review

Board. The proposed rules were as follows:

             (1)   The following therapies and procedures performed for the
                   treatment of gender dysphoria in minors are prohibited.
                   (a)    Sex reassignment surgeries, or any other surgical
                          procedures, that alter primary or secondary sexual
                          characteristics.
                   (b)    Puberty blocking, hormone, and hormone antagonist
                          therapies.

             (2)   Nonsurgical treatments for the treatment of gender dysphoria in
                   minors may continue to be performed under the auspices of
                   Institutional Review Board (IRB) approved, investigator-initiated
                   clinical trials conducted at any of the Florida medical schools set
                   forth in Section 458.3145(1)(i), Florida Statutes. Such clinical
                   trials must include long term longitudinal assessments of the
                   patients’ physiologic and psychologic outcomes.
             (3)   Minors being treated with puberty blocking, hormone, or hormone
                   antagonist therapies prior to the effective date of this rule may
                   continue with such therapies.
      87.    On November 4, 2022, the Florida Board of Medicine voted to remove

the exception from its proposed transgender medical ban.


                                        -22-
  Case 4:23-cv-00114-RH-MAF        Document 118     Filed 07/27/23   Page 24 of 56




      88.    On January 9, 2023, the Boards published Notices of Public Hearing in

the Florida Administrative Register, regarding a joint hearing of the Boards scheduled

to take place on February 10, 2023.

      89.    On February 10, 2023, during the Public Hearing, the Florida Board of

Osteopathic Medicine voted to remove the exception from its proposed transgender

medical bans.

      90.    The Florida Board of Medicine filed the following rule with the Florida

Department of State on February 24, 2023, with an effective date of March 16, 2023:

             (1)   The following therapies and procedures performed for the
                   treatment of gender dysphoria in minors are prohibited.
                   (a)    Sex reassignment surgeries, or any other surgical
                          procedures, that alter primary or secondary sexual
                          characteristics.
                   (b)    Puberty blocking, hormone, and hormone antagonist
                          therapies.

             (2)   Minors being treated with puberty blocking, hormone, or hormone
                   antagonist therapies prior to the effective date of this rule may
                   continue with such therapies.

      91.    The Florida Board of Osteopathic Medicine filed the following rule with

the Florida Department of State on March 8, 2023, with an effective date of March

28, 2023:

             (1)   The following therapies and procedures performed for the
                   treatment of gender dysphoria in minors are prohibited.




                                        -23-
  Case 4:23-cv-00114-RH-MAF         Document 118      Filed 07/27/23   Page 25 of 56




                    (a)    Sex reassignment surgeries, or any other surgical
                           procedures, that alter primary or secondary sexual
                           characteristics.

                    (b)    Puberty blocking, hormone, and hormone antagonist
                           therapies.
             (2)    Minors being treated with puberty blocking, hormone, or hormone
                    antagonist therapies prior to the effective date of this rule may
                    continue with such therapies.
      92.    The transgender medical bans include a clause that permits minors being

treated with puberty blockers or hormones prior to the effective date of the transgender

medical bans to continue to receive those treatments.

      93.    Transgender minors who were not yet receiving puberty blockers or

hormones when the transgender medical bans took effect are barred from obtaining

such treatment from a Florida doctor regardless of medical necessity.

      94.    The transgender medical bans ignore the established medical and

scientific consensus that these treatments are medically necessary, safe, and effective

for the treatment of gender dysphoria.

      95.    The transgender medical bans undermine the public policy of this state,

which provides that parents have the right to make medical decisions for their

adolescent children. See Fla. Stat. § 1014.02 (which provides that “it is a fundamental

right of parents to direct the upbringing, education, and care of their minor children”);

Fla. Stat. § 1014.03 (“The state, any of its political subdivisions, any other

governmental entity, or any other institution may not infringe on the fundamental


                                          -24-
   Case 4:23-cv-00114-RH-MAF         Document 118       Filed 07/27/23    Page 26 of 56




rights of a parent to direct the upbringing, education, health care, and mental health

of his or her minor child[.]”) (emphasis added).

III.   The Restrictions Created by SB 254

       96.     On May 4, 2023, the Florida Legislature voted to pass SB 254.

       97.     On May 17, 2023, Florida Governor Ron DeSantis signed into law SB

254, which imposes criminal and civil penalties, as well as professional discipline, on

any health care practitioner who, in violation of SB 254, prescribes or administers

puberty blocking medications or hormone therapy, or performs a medical procedure,

in order to affirm a person’s perception of his or her sex if that perception is

inconsistent with the person’s birth sex. See SB 254, § 4 (Fla. Stat. § 456.001)

(definitions); § 5 (Fla. Stat. § 456.52) (prohibitions, restrictions, and criminal and civil

penalties); § 6 (Fla. Stat. § 456.074) (professional discipline); § 7 (Fla. Stat. § 766.318)

(civil liability).

       98.     Section 4 defines “sex-reassignment prescriptions” as the “prescription

or administration of puberty blockers for the purpose of attempting to stop or delay

normal puberty in order to affirm a person’s perception of his or her sex if that

perception is inconsistent with the person’s sex” at birth and the “prescription or

administration of hormones or hormone antagonists to affirm a person’s perception of

his or her sex if that perception is inconsistent with the person’s sex” at birth. SB 254,

§ 4 (Fla. Stat. § 456.001(9)(a)(1)-(2)).          Section 4 defines sex-reassignment



                                           -25-
  Case 4:23-cv-00114-RH-MAF          Document 118      Filed 07/27/23    Page 27 of 56




“procedures” as “[a]ny medical procedure, including a surgical procedure, to affirm a

person’s perception of his or her sex if that perception is inconsistent with the person’s

sex” at birth. Id. at § 4 (Fla. Stat. § 456.001(9)(a)(3)). “Sex” is defined under Section

4 as “the classification of a person as either male or female based on the organization

of the human body of such person for a specific reproductive role, as indicated by the

person’s sex chromosomes, naturally occurring sex hormones, and internal and

external genitalia present at birth.” Id. at § 4 (Fla. Stat. § 456.001(8)).

      99.    Section 5 bars the provision of transition-related care to minors. SB 254,

§ 5 (Fla. Stat. § 456.52(1) (“Sex-reassignment prescriptions and procedures are

prohibited for patients younger than 18 years of age[.]”)). Minors who were receiving

transition-related prescriptions (not procedures) prior to and through the passage of

SB 254 on May 17, 2023, may continue to receive such medication. Id. at § 5 (Fla.

Stat. § 456.52(1)(a) (“[A] patient younger than 18 years of age may continue to be

treated with [sex-reassignment prescriptions] if such treatment for sex reassignment

was commenced before, and is still active on, the effective date of this act.”)).

However, minors eligible to continue prescription transition-related treatment must

comply with the restrictions developed by the Boards (discussed below). Id. at § 5

(Fla. Stat. § 456.52(1)(a)-(b)).

      100. Section 5 permits adults to obtain transition-related prescriptions and

procedures only if they comply with restrictions imposed by the Boards, including


                                           -26-
      Case 4:23-cv-00114-RH-MAF     Document 118     Filed 07/27/23    Page 28 of 56




meeting requirements set forth on “forms adopted in rule by the [Boards]” (discussed

below). SB 254, § 5 (Fla. Stat. § 456.52(2)). The requirement of completing these

forms does not apply to renewals of prescriptions “if a physician and his or her patient

have met the requirements for consent for the initial prescription or renewal.” Id. at §

5 (Fla. Stat. § 456.52(4)). However, “separate consent is required for any new

prescription for a pharmaceutical product not previously prescribed to the patient.”

Id.

         101. Further, Section 5 limits who can provide transition-related care – for

both adults and minors – to Florida-licensed allopathic and osteopathic physicians or

a physician practicing medicine or osteopathic medicine in the employment of the

United States federal government.        Id. at § 5 (Fla. Stat. § 456.52(3) (“Sex-

reassignment prescriptions or procedures may not be prescribed, administered, or

performed except by a physician.”)). Under this provision, NPs are no longer

permitted to prescribe or administer transition-related medications for treatment of

gender dysphoria.

         102. Section 5 provides that the Boards shall adopt, by emergency rule,

requirements that eligible transgender minors and transgender adults must meet to

receive transition-related treatment. SB 254, § 5 (Fla. Stat. § 456.52(1)(a) (“The

[Boards] shall . . . adopt emergency rules pertaining to the standards of practice under

which a [minor patient] may continue to be treated with a prescription[.]”); Fla. Stat.


                                         -27-
    Case 4:23-cv-00114-RH-MAF       Document 118      Filed 07/27/23   Page 29 of 56




§ 456.52(2) (requiring transgender adults to provide consent “in writing on forms

adopted in rule by the [Boards]”); Fla. Stat. § 456.52(6)(a) (“The Board[s] shall adopt

emergency rules to implement this section.”)). The Boards issued these emergency

rules on July 7, 2023.6

       103. These emergency rules prohibit health care providers from providing

transition-related care to transgender patients unless they (i) see a physician in person

and are treated only by a physician (also a requirement in SB 254 itself), (ii) comply

with the extensive, medically unnecessary requirements in the consent forms; and (iii)

have a competent third-party witness observe this process and sign the consent form

as well.7

       104. Section 5 provides that violation of its provision “constitutes grounds for

disciplinary action under this chapter and chapter 458 or chapter 459, as applicable.”

SB 254, § 5 (Fla. Stat. § 456.52(5)(a)). Section 5 further provides that violation of the

prohibition or limitations on providing transition-related care to eligible transgender

minors results in felony criminal liability; violations of the provisions pertaining to

transgender adults results in misdemeanor criminal liability. Id. at § 5 (Fla. Stat. §

456.52(5)(b)-(c)).




6
  Board of Medicine, Emergency Rules 64B8ER23-7 and 64B8ER23-8; Board of Osteopathic
Medicine, Emergency Rules 64B15ER23-9 and 64B15ER23-10.
7
  See id.

                                          -28-
  Case 4:23-cv-00114-RH-MAF        Document 118      Filed 07/27/23   Page 30 of 56




      105. Section 6 provides for “immediate suspension” of the license of any

health care practitioner who is “arrested for committing or attempting, soliciting, or

conspiring to commit” violations of the prohibitions and restrictions on providing

transition-related care to minors. SB 254, § 6 (Fla. Stat. § 456.074(5)(c)).

      106. Section 7 creates civil liability for the provision of sex-reassignment

prescriptions or procedures to minors. It provides as follows:

             (1)    A cause of action exists to recover damages for personal injury or
                    death resulting from the provision of sex reassignment
                    prescriptions or procedures, as defined in s. 456.001, to a person
                    younger than 18 years of age which are prohibited by s. 456.52(1).

             (2)    The limitations on punitive damages in s. 768.73(1) do not apply
                    to actions brought under this section.
             (3)    An action brought under this section:
                    (a)   May be commenced within 20 years after the cessation or
                          completion of the sex-reassignment prescription or
                          procedure.
                    (b)   Is in addition to any other remedy authorized by law.

             (4)    The cause of action created by this section does not apply to:
                    (a)   Treatment with sex-reassignment prescriptions if such
                          treatment is consistent with s. 456.001(9)(a)1. or 2. and was
                          commenced on or before, and is still active on, the effective
                          date of this act.

                    (b)   Sex-reassignment prescriptions or procedures that were
                          ceased or completed on or before the effective date of this
                          act.
SB 254, § 7 (Fla. Stat. § 766.318(1)-(4)).




                                         -29-
    Case 4:23-cv-00114-RH-MAF        Document 118      Filed 07/27/23    Page 31 of 56




       107. The medical bans on transition-related care for minors in SB 254 ignore

the established medical and scientific consensus that these treatments are medically

necessary, safe, and effective for the treatment of gender dysphoria. Further, SB 254

puts multiple substantial, harmful, and medically unnecessary obstacles in the path of

transgender patients seeking treatments who are not otherwise completely barred

under SB 254 from getting care. These restrictions serve no legitimate medical

purpose and do not apply to similarly-situated persons who are not transgender

seeking comparable forms of medical care. Instead, they are uniquely targeted against

transgender persons receiving or desiring to receive transition-related care and serve

no purpose other than to make it extremely difficult or impossible for them to obtain

the treatment they need.

       108. The first restriction is a requirement that each patient provide informed

consent “in writing on forms adopted in rule by the [Boards].”8 The Boards have

issued three consent forms for eligible transgender minors – one form for puberty

blockers, one form for feminizing hormones, and one form for masculinizing

hormones; and three consent forms for transgender adults – one form for feminizing

hormones, one form for masculinizing hormones, and one form for transition-related

surgical treatment. These forms were adopted by the Boards through emergency rules


8
  Fla. Stat. § 456.52(2) and Emergency Rules 64B8ER23-8 and 64B15ER23-10 (applicable to
adults); Fla. Stat. § 456.52(1)(a), Emergency Rules 64B8ER23-7 and 64B15ER23-9 (applicable
to minors).

                                           -30-
    Case 4:23-cv-00114-RH-MAF         Document 118        Filed 07/27/23    Page 32 of 56




and became effective on July 7, 2023.9 They remain in effect indefinitely pursuant to

SB 254, Section 5 (Fla. Stat. § 456.52(6)).             These forms impose substantive

requirements that serve no medical purpose, that are harmful to transgender patients,

that undermine rather than serve informed consent, and that prevent transgender

patients from receiving the care they need. These forms also require providers to

convey false information and to misrepresent the risks and benefits of transition-

related care.

       109. A second restriction is a requirement that a physician be “physically

present in the same room” to establish informed consent.10 This requirement prevents

the use of telehealth, even when a patient has a well-established therapy for treatment

and is transferring care to a new provider because of restrictions under the new law.

This requirement can be an absolute barrier to care for a patient who does not live in

proximity to their doctor and does not have access to transportation. This requirement

also prevents NPs from obtaining informed consent, although they are fully qualified

to do so.

       110. A third barrier is the total prohibition on transition-related medications

prescribed by NPs. SB 254, § 5 (Fla. Stat. § 456.52(3) (restricting transition-related



9
  See Board of Medicine, Emergency Rules 64B8ER23-7 and 64B8ER23-8; Board of
Osteopathic Medicine, Emergency Rules 64B15ER23-9 and 64B15ER23-10.
10
   Fla. Stat. § 456.52(2), Emergency Rules 64B8ER23-8(2)(a) and 64B15ER23-10(2)(a)
(applicable to adults); Fla. Stat. § 456.52(1)(a), Emergency Rules 64B8ER23-7(3)(a) and
64B15ER23-9(3)(a) (applicable to minors).

                                             -31-
  Case 4:23-cv-00114-RH-MAF         Document 118      Filed 07/27/23   Page 33 of 56




medication prescribers to licensed physicians)). Under Florida law, qualified NPs are

authorized to “[p]rescribe, dispense, administer, or order any drug.” Fla. Stat. §

464.012(3)(a) (noting additional education requirements for prescribing controlled

substances). The effect is that the number of authorized providers of transition-related

medications has been severely reduced and patients are unable to continue receiving

care from the providers who know their treatment history and with whom they have

established a rapport. As set forth above, this restriction works in concert with the in-

person requirement, causing many patients, including Plaintiffs, to be unable to obtain

medications because they can no longer receive hormone therapy from their NP and

cannot either get an appointment with a physician before their medication runs out or

are unable to travel to initiate treatment with a physician under the in-person

requirement.

      111. For example, Spektrum’s entire clinic is staffed by NPs, and these

practitioners serve about 2,500 transgender patients whose access to care is now in

jeopardy.   A predicted shortfall of nearly 18,000 physicians in Florida by 2035 will

further exacerbate transgender persons’ ability to obtain care.

      112. A fourth restriction created by SB 254 is that a “competent witness is

also required to sign the informed consent form[s]” in order for them to be




                                          -32-
     Case 4:23-cv-00114-RH-MAF       Document 118      Filed 07/27/23    Page 34 of 56




“executed[.]”11 This is yet another obstacle to care for transgender persons that serves

no recognized medical purpose and does not apply to comparable forms of medical

care sought by similarly-situated persons who are not transgender.

        113. In addition to preventing transgender patients from receiving medical

care, SB 254 has caused numerous practitioners to stop providing care to transgender

patients, either in whole or in part. For example, since the enactment of SB 254, the

University of Miami has repeatedly canceled scheduled transition-related surgeries

without rescheduling them, leaving the affected patients in the lurch and without

available alternatives for obtaining surgical treatment. In addition, because of SB 254

and the accompanying rules, some physicians in Florida who treat gender dysphoria

have stopped seeing new patients.

        114. One overall effect of the Transgender Medical Restrictions has been to

create a crisis of availability for transition-related care in Florida, with demand for

that care vastly outstripping the supply of physicians authorized and willing to supply

it. This has created extremely long wait times for treatment that leaves patients

without their medications or access to other forms of care for prolonged periods,

risking significant harm to their physical and mental health while they remain

untreated.


11
  Fla. Stat. § 456.52(1)(a), Emergency Rules 64B8ER23-7(3)(d) and 64B15ER23-9(3)(d)
(applicable to minors); Fla. Stat. § 456.52(2), Emergency Rules 64B8ER23-8(2)(c) and
64B15ER23-10(2)(c) (applicable to adults).

                                           -33-
  Case 4:23-cv-00114-RH-MAF        Document 118      Filed 07/27/23   Page 35 of 56




IV.   The Transgender Medical Restrictions Will Irreparably Harm the Plaintiffs

      Jane Doe and her daughter Susan Doe
      115. Susan Doe is an eleven-year-old transgender girl who resides with her

mother, Jane Doe, her father, and her three siblings in St. Johns County, Florida.

      116. From an early age, Susan began telling her parents that she is a girl. She

began living fully as a girl, with the support of her family and upon advice of her

pediatrician by the time she started kindergarten.

      117. Susan has been diagnosed with gender dysphoria and that diagnosis has

been confirmed by many doctors, including her doctor at the Pentagon. Susan has not

been prescribed puberty blockers or hormones to treat her gender dysphoria.

      118. Susan’s medical providers, including her pediatrician, pediatric

endocrinologist, and medical provider on base, continue to monitor her treatment and

concluded that it likely will be medically necessary for her to begin puberty blocking

medications after she begins puberty, which is imminent. The Transgender Medical

Restrictions applicable to minors, however, will prevent her from obtaining treatment.

      Brenda Boe and her son Bennett Boe

      119. Bennett Boe is a fourteen-year-old transgender boy who resides in

Alachua County, Florida, with his mother, Brenda Boe.

      120. Bennett has known that he was not a girl since the third grade. After he

began puberty and started experiencing the accompanying physical changes, Bennett

grew increasingly distressed by the mismatch between his body and his sense of

                                         -34-
  Case 4:23-cv-00114-RH-MAF        Document 118      Filed 07/27/23     Page 36 of 56




himself as a boy. Around that time, Bennett experienced debilitating depression,

culminating in an incident of self-harm resulting in hospitalization.

      121. Bennett’s mother Brenda took Bennett to see medical professionals who

diagnosed Bennett with gender dysphoria and recommended treatment, including

menstrual suppression medication. With Brenda’s consent, Bennett began treatment

which has considerably alleviated his depression.

      122. Even with that treatment, Bennett continues to experience gender

dysphoria as a result of continued pubertal development inconsistent with his sense of

himself as a boy.

      123. Bennett’s doctors believe it may be medically necessary for him to begin

hormone therapy after he turns sixteen.

      124. Brenda and Bennett fear that the Transgender Medical Restrictions

applicable to minors will prevent him from being able to treat his ongoing symptoms

of gender dysphoria with hormone therapy.

      Carla Coe and her daughter Christina Coe

      125. Christina Coe is a nine-year-old transgender girl, and one of three

triplets, who resides in Duval County, Florida with her mother, Carla Coe, her father,

and her siblings.

      126. From an early age, Christina began to say to her parents that she is a girl.




                                          -35-
  Case 4:23-cv-00114-RH-MAF          Document 118   Filed 07/27/23   Page 37 of 56




      127. At age five Christina began to express distress including suicidal ideation

and a desire to harm herself.

      128. Since entering the third grade, Christina has been living as a girl in all

aspects of her life. She has not expressed a renewed desire to harm herself.

      129. Carla and her husband fear that Christina will not be able to get the

medical care she needs after she begins puberty because of the Transgender Medical

Restrictions applicable to minors.

      Fiona Foe and her daughter Freya Foe

      130. Freya Foe is a ten-year-old transgender girl who resides with her mother,

Fiona Foe, her father, her grandmother, and her two siblings in Orange County,

Florida.

      131. As soon as she could walk and talk, Freya was very feminine in her self-

expression, including her choices of clothing and toys.

      132. As she grew older, Freya began to express distress about being seen as a

boy. Fiona and her husband took Freya to see a psychologist who diagnosed her with

gender dysphoria.

      133. Shortly before her tenth birthday, Freya’s doctor examined her and

determined that she had reached Tanner Stage 2, meaning puberty is in progress. In

the months preceding this examination, Freya had begun to express distress about the

onset of puberty and her performance in school began to decline.



                                         -36-
   Case 4:23-cv-00114-RH-MAF       Document 118      Filed 07/27/23    Page 38 of 56




       134. In December 2022, Freya’s doctors determined that puberty blocking

medication was medically necessary for the treatment of her gender dysphoria. With

the consent of her parents, Freya began puberty blocking medication. Since then,

Freya’s overall wellbeing and performance in school have improved.

       135. The Transgender Medical Restrictions applicable to minors will prevent

Freya’s medical providers from prescribing hormones to allow her to go through

female puberty, medication she may need as her peers continue to develop through

puberty.

       Gloria Goe and her son Gavin Goe

       136. Gavin Goe is an eight-year-old transgender boy who resides with his

mother, Gloria Goe, his father, and his siblings in Lee County, Florida.

       137. Gavin identified as a boy at a very young age, pointing to photographs

of boys to let others around him know how he felt. Eventually, he asked his parents

why he could not have a boy’s name and why people did not believe he was a boy.

       138. Gradually over time, Gavin’s parents supported him in taking steps to

live more fully as a boy.

       139. By the time Gavin entered first grade, he was living as a boy in all aspects

of his life.




                                         -37-
  Case 4:23-cv-00114-RH-MAF        Document 118      Filed 07/27/23   Page 39 of 56




      140. Gavin was assessed for gender dysphoria by his pediatrician in 2022,

who referred Gavin to a pediatric endocrinologist for further assessment and treatment

because of Gavin’s age, development, and family history.

      141. Gloria made an appointment for Gavin with the pediatric endocrinologist

at a clinic for March of 2023. She learned, just before the appointment, that it was

cancelled because the clinic is no longer seeing new patients due to the Transgender

Medical Restrictions applicable to minors.

      142. Gloria and Gavin know that irreversible changes can happen in Gavin’s

body at any time due to the onset of puberty and that he needs to be assessed regularly

by a pediatric endocrinologist to determine if and when he needs puberty blockers to

effectively treat his gender dysphoria.

      Linda Loe and her daughter Lisa Loe

      143. Lisa Loe is an eleven-year-old transgender girl who resides with her

mother, Linda Loe, her father, and her sibling in Miami-Dade County, Florida.

      144. As a child, Lisa identified closely with her female friends and strongly

preferred toys and activities more commonly associated with girls.

      145. At age nine, Lisa said that she knew she was a girl.

      146. Lisa’s parents took her to see a psychologist who assisted them in

supporting Lisa to live consistently with her gender identity.




                                          -38-
   Case 4:23-cv-00114-RH-MAF        Document 118      Filed 07/27/23   Page 40 of 56




         147. Lisa was evaluated in fall of 2022 by a pediatric endocrinologist who

confirmed her diagnosis of gender dysphoria and recommended that she return for

another appointment in six months because she was likely to start puberty soon.

         148. Lisa was evaluated again in March of 2023 and her doctor confirmed that

she has reached puberty and advised that it would be necessary to begin puberty

blockers within approximately three months. The doctor also advised that the

Transgender Medical Restrictions applicable to minors made it impossible for the

doctor to prescribe puberty blockers to Lisa.

         149. Irreversible changes are occurring in Lisa’s body at this time, which are

causing her significant distress. Lisa and her family cannot meet her urgent medical

needs because of the barriers they are facing in Florida finding the medical care she

needs.

         Patricia Poe and her son Paul Poe
         150. Paul Poe is a nine-year-old transgender boy who resides with his mother,

Patricia Poe, and his sister in Miami-Dade County, Florida.

         151. From a young age, Paul began asking consistently to use the boys’

bathroom and to be referred to as a boy and a brother.

         152. Paul began wearing boys’ clothing, using a boy’s name when away from

home, and, with the advice and support of a therapist, living as a boy at school and in

all other aspects of his life.



                                             -39-
  Case 4:23-cv-00114-RH-MAF        Document 118      Filed 07/27/23    Page 41 of 56




      153. In late 2022, Paul’s body began changing with the onset of puberty.

Patricia took him to see a pediatric endocrinologist who determined that Paul was far

enough along in puberty that he may need puberty blockers.               The pediatric

endocrinologist recommended that Paul see a psychologist to confirm his medical

need for puberty blockers.

      154. In February 2023, a psychologist evaluated Paul and determined that he

needs to begin treatment with puberty blockers to alleviate his gender dysphoria. Paul

began treatment at that time.

      155. Shortly thereafter, Paul’s pediatric endocrinologist told Patricia that the

endocrinologist was unable to continue prescribing or monitoring the treatment in

light of the transgender medical bans. Paul’s family must find medical providers

outside of Florida to secure the care he needs which presents a hardship to the family

and potential harms because of disruption to the continuity of his care, as long as the

Transgender Medical Restrictions applicable to minors are in effect.

      Lucien Hamel

      156. Lucien Hamel is a 27-year-old transgender man who resides in Indian

River County, Florida with his wife and child.

      157. Lucien has known he was a man since the age of six. Because he lacked

the vocabulary to describe his experience when he was young, and fearing the danger




                                         -40-
  Case 4:23-cv-00114-RH-MAF         Document 118        Filed 07/27/23   Page 42 of 56




and discrimination that transgender persons experience, Lucien did not begin

receiving transition-related care until 2019.

        158. After Lucien’s psychiatrist diagnosed him with gender dysphoria, he

began     receiving   transition-related   medication     initially   from   a   pediatric

endocrinologist. Thereafter, he was referred to an NP at Spektrum Health, who

continued to prescribe him hormones for treatment of his gender dysphoria.

        159. Because of SB 254, Lucien’s NP at Spektrum can no longer refill his

transition-related medication. Lucien’s former pediatric endocrinologist will also not

refill his medication because that doctor’s practice will no longer permit him to treat

adults. Lucien has tried to obtain refills from a physician but has been unable to get

an appointment with one. Lucien has also contacted out-of-state providers, but he

cannot obtain transition-related care from these practitioners because such treatment

would require him to travel out of state, which he cannot afford.

        160. Lucien took his last testosterone shot on June 28, 2023, and has been

without transition-related medication since that time. Being forced to go without

testosterone has caused, and will continue to cause, severe and irreparable physical,

emotional, and psychological consequences for Lucien. He is also harmed because

he cannot continue to receive care from the medical provider with whom he has built

a relationship of trust and who knows about his medical history and needs.




                                           -41-
  Case 4:23-cv-00114-RH-MAF        Document 118      Filed 07/27/23    Page 43 of 56




        Olivia Noel

        161. Olivia Noel is a 26-year-old transgender woman who resides in Florida.

        162. Olivia started taking transition-related medication in May 2016 after

being diagnosed with gender dysphoria. Before receiving transition-related treatment,

Olivia was assessed by and met several times with an endocrinologist. She has been

receiving transition-related care via telehealth from NPs at Planned Parenthood in

Florida.

        163. The current prescription Olivia has for hormones will run out within 30

days.

        164. Planned Parenthood informed Olivia it can no longer provide her

medical care because of SB 254. Olivia has not been able to get an appointment with

a physician to get continued care as SB 254 requires, and cannot meet the burdensome

prerequisites to medical treatment set forth in the informed consent forms for financial

and logistical reasons even if she could.

        165.   As a result of SB 254, Olivia will be unable to get the medical care she

needs for treatment of gender dysphoria.

        Rebecca Cruz Evia

        166. Rebecca Cruz Evia is a 40-year-old transgender woman who resides in

Port St. Lucie, Florida.




                                            -42-
  Case 4:23-cv-00114-RH-MAF          Document 118     Filed 07/27/23   Page 44 of 56




      167. Rebecca began her transition in February 2019, at which time she started

receiving transition-related medication. She currently receives hormones from a

physician at the University of Miami Health System and also sees a mental health

provider.

      168. Rebecca has undergone one transition-related surgery already which was

completed in 2020, and was scheduled to undergo another transition-related surgery

in August with surgeons at the University of Miami Health System. However, the

surgeons who were scheduled to do the surgery called Rebecca and told her that they

were required to cancel all inpatient transition-related surgeries because of SB 254.

      169. Rebecca has inquired about receiving her needed transition-related

operation from the only other provider in Florida that performs such operations, but

this provider does not take her health insurance and she cannot afford to pay out of

pocket. Her current health insurance plan will not cover out-of-state operations.

      Kai Pope

      170.        Kai Pope is a 51-year-old transgender man who resides in Florida. Kai

is a physician.

      171. Kai was scheduled to receive a transition-related surgery in September

with a surgeon at the University of Miami Health System. However, this surgeon

called Kai and told him that she was required to cancel all inpatient transition-related

surgeries because of SB 254.


                                           -43-
  Case 4:23-cv-00114-RH-MAF         Document 118        Filed 07/27/23   Page 45 of 56




      172. Kai is not able to get his surgery scheduled with another surgeon. He

also has an established doctor-patient relationship with the surgeon who had to cancel

the surgery and will be harmed if he has to find another surgeon to complete this

procedure.

      173. The crises in access to transition-related care created by SB 254 has

caused serious negative physical, emotional, and psychological effects on Kai because

he has not been able to get the surgery he needs.

                         CLASS ACTION ALLEGATIONS

             Class 1

      174. Class 1 Plaintiffs Jane Doe on behalf of Susan Doe, Carla Coe on behalf

of Christina Coe, Brenda Boe on behalf of Bennett Boe, Gloria Goe on behalf of Gavin

Goe, and Linda Loe on behalf of Lisa Loe, bring this action through the Parent

Plaintiffs and on behalf of a class of those similarly situated pursuant to Rule 23(a)

and Rule 23(b)(2) of the Federal Rules of Civil Procedure.

      175. Class 1 is defined as:

             All transgender minors in the State of Florida who are prohibited
             from initiating treatment with puberty blockers and/or hormone
             therapy as a result of the Transgender Medical Restrictions
             applicable to minors, and the parents of all such minors.

      176. Plaintiffs reserve the right to modify or amend the definition of Class 1,

as appropriate, during the course of this litigation.




                                          -44-
  Case 4:23-cv-00114-RH-MAF         Document 118      Filed 07/27/23    Page 46 of 56




      177. Class 1 satisfies the requirements of Rule 23(a). The members of Class

1 are so numerous that joinder of all members is impracticable. While the exact

number of Class 1 members is unknown to Plaintiffs at this time and can only be

ascertained through appropriate discovery, upon information and belief, there are

thousands of Class 1 members dispersed throughout Florida.

      178. Common questions of law and fact exist as to all Class 1 members and

predominate over any questions solely affecting individual Class 1 members. Among

the questions of law and fact common to Class 1 are:

             (1)    whether the ban on transition-related medical care for
                    transgender minors violates the Equal Protection Clause;
             (2)    whether Class 1 Plaintiffs and other members of Class 1 are
                    injured by the bans on transition-related medical care for
                    transgender minors;
             (3)    whether Class 1 Plaintiffs and other members of Class 1 are
                    entitled to, among other things, a declaratory judgment that the
                    bans on transition-related medical care for transgender minors
                    violate the Equal Protection Clause, and injunctive relief
                    prohibiting enforcement of Fla. Stat. § 456.52(1); and

             (4)    whether Defendants are liable to Class 1 Plaintiffs and other class
                    members for reasonable attorneys’ fees.

      179. Class 1 Plaintiffs’ claims are typical of the claims of the class, as all Class

1 members were and are similarly affected by Defendants’ wrongful conduct, and the

relief sought herein is common to all members of Class 1. Class 1 Plaintiffs will fairly

and adequately represent and protect the interests of the members of Class 1. There



                                          -45-
  Case 4:23-cv-00114-RH-MAF         Document 118        Filed 07/27/23   Page 47 of 56




are no conflicts between Class 1 Plaintiffs and Class 1 members. Class 1 Plaintiffs

have retained counsel competent and experienced in complex class action litigation.

             Class 2

      180. Class 2 Plaintiffs Fiona Foe on behalf of Freya Foe, and Patricia Poe on

behalf of Paul Poe, bring this action through the Parent Plaintiffs and on behalf of a

class of those similarly situated pursuant to Rule 23(a) and Rule 23(b)(2) of the

Federal Rules of Civil Procedure.

      181. Class 2 is defined as:

             All transgender minors in the State of Florida who were being
             actively treated with puberty blockers and/or hormone therapies as
             of May 17, 2023, and since that date have attempted, are attempting
             or will attempt to obtain access to such treatments that are subject
             to the Transgender Medical Restrictions applicable to minors, and
             the parents of all such minors.

      182. Plaintiffs reserve the right to modify or amend the definition of Class 2

as appropriate, during the course of this litigation.

      183. Class 2 satisfies the requirements of Rule 23(a). The members of Class

2 are so numerous that joinder of all members is impracticable. While the exact

number of Class 2 members is unknown to Plaintiffs at this time and can only be

ascertained through appropriate discovery, upon information and belief, there are

thousands of Class 2 members dispersed throughout Florida.




                                          -46-
  Case 4:23-cv-00114-RH-MAF         Document 118      Filed 07/27/23    Page 48 of 56




      184. Common questions of law and fact exist as to all Class 2 members and

predominate over any questions solely affecting individual Class 2 members. Among

the questions of law and fact common to Class 2 are:

             (1)    whether the informed consent requirements and/or bans on
                    receiving transition-related prescriptions from qualified health
                    professionals, other than physicians, for eligible transgender
                    minors violate the Equal Protection Clause;

             (2)    whether Class 2 Plaintiffs and other members of Class 2 are
                    injured by the informed consent requirements and/or bans on
                    receiving transition-related prescriptions from qualified health
                    professionals, other than physicians;

             (3)    whether Class 2 Plaintiffs and other members of Class 2 are
                    entitled to, among other things, a declaratory judgment that the
                    informed consent requirements and/or bans on receiving
                    transition-related  prescriptions     from    qualified    health
                    professionals, other than physicians, for eligible transgender
                    minors violate the Equal Protection Clause, and injunctive relief
                    prohibiting enforcement of Fla. Stat. §§ 456.52(1) and 456.52(3);
                    and

             (4)    whether Defendants are liable to Class 2 Plaintiffs and other class
                    members for reasonable attorneys’ fees.

      185. Class 2 Plaintiffs’ claims are typical of the claims of the class, as all Class

2 members were and are similarly affected by Defendants’ wrongful conduct, and the

relief sought herein is common to all members of Class 2. Class 2 Plaintiffs will fairly

and adequately represent and protect the interests of the members of Class 2. There

are no conflicts between Class 2 Plaintiffs and Class 2 members. Class 2 Plaintiffs

have retained counsel competent and experienced in complex class action litigation.



                                          -47-
  Case 4:23-cv-00114-RH-MAF         Document 118        Filed 07/27/23   Page 49 of 56




             Class 3

      186. Class 3 Plaintiffs Lucien Hamel, Olivia Noel, Rebecca Cruz, and Kai

Pope bring this action on their own behalf and on behalf of a class of those similarly

situated pursuant to Rule 23(a) and Rule 23(b)(2) of the Federal Rules of Civil

Procedure.

      187. Class 3 is defined as follows:

             All transgender adults in the State of Florida who have attempted,
             are attempting or will attempt to obtain access to transition-related
             medications or surgeries that are subject to the Transgender
             Medical Restrictions applicable to transgender adults.

      188. Plaintiffs reserve the right to modify or amend the definition of Class 3

as appropriate, during the course of this litigation.

      189. Class 3 satisfies the requirements of Rule 23(a). The members of Class

3 are so numerous that joinder of all members is impracticable. While the exact

number of Class 3 members is unknown to Plaintiffs at this time and can only be

ascertained through appropriate discovery, upon information and belief, there are

thousands of Class 3 members dispersed throughout Florida.

      190. Common questions of law and fact exist as to all Class 3 members and

predominate over any questions solely affecting individual Class 3 members. Among

the questions of law and fact common to Class 3 are:

             (1)    whether the informed consent requirements and/or bans on
                    receiving transition-related medical care from qualified health


                                          -48-
  Case 4:23-cv-00114-RH-MAF         Document 118      Filed 07/27/23    Page 50 of 56




                    professionals, other than physicians, for transgender adults violate
                    the Equal Protection Clause;

             (2)    whether Class 3 Plaintiffs and other members of Class 3 are
                    injured by the informed consent requirements and/or bans on
                    receiving transition-related medical care from qualified health
                    professionals, other than physicians;

             (3)    whether Class 3 Plaintiffs and other members of Class 3 are
                    entitled to, among other things, a declaratory judgment that the
                    informed consent requirements and/or bans on receiving
                    transition-related medical care from qualified health
                    professionals, other than physicians, for transgender adults violate
                    the Equal Protection Clause, and injunctive relief prohibiting
                    enforcement of §§ 456.52(2) and Section 456.52(3); and

             (4)    whether Defendants are liable to Class 3 Plaintiffs and other class
                    members for reasonable attorneys’ fees.

      191. Class 3 Plaintiffs’ claims are typical of the claims of the class, as all Class

3 members were and are similarly affected by Defendants’ wrongful conduct, and the

relief sought herein is common to all members of Class 3. Class 3 Plaintiffs will fairly

and adequately represent and protect the interests of the members of Class 3. There

are no conflicts between Class 3 Plaintiffs and Class 3 members. Class 3 Plaintiffs

have retained counsel competent and experienced in complex class action litigation.




                                          -49-
  Case 4:23-cv-00114-RH-MAF         Document 118   Filed 07/27/23   Page 51 of 56




                               CLAIMS FOR RELIEF

                                      COUNT I
                       Deprivation of Substantive Due Process
                              U.S. Const. Amend. XIV
        Parent Plaintiffs Against All Defendants in Their Official Capacities
 Violation of Parent Plaintiffs’ Right to Direct the Upbringing of Their Adolescent
                                       Children

      192. The Plaintiffs incorporate paragraphs 1-191 of the Third Amended

Complaint as if set forth fully herein.

      193. The Parent Plaintiffs bring this Count against all Defendants.

      194. The Fourteenth Amendment to the United States Constitution protects

the rights of parents to make decisions “concerning the care, custody, and control of

their children.” Troxel v. Granville, 530 U.S. 57, 66 (2000) (plurality). That

fundamental right includes the liberty to make medical decisions for their minor

adolescent children, including the right to obtain medical treatments that are

recognized to be safe, effective, and medically necessary to protect their adolescent

children’s health and well-being.

      195. The Transgender Medical Restrictions applicable to minors violate this

fundamental right by preventing the Parent Plaintiffs from obtaining established,

medically necessary care for their minor adolescent children.

      196. By intruding upon parents’ fundamental right to direct the upbringing of

their adolescent children, the Transgender Medical Restrictions are subject to strict

scrutiny.


                                          -50-
  Case 4:23-cv-00114-RH-MAF         Document 118       Filed 07/27/23   Page 52 of 56




      197. The Defendants have no compelling justification for preventing parents

from ensuring their adolescent children can receive essential medical care. The

Transgender Medical Restrictions do not advance any legitimate interest, much less a

compelling one.

                                      COUNT II
                           Deprivation of Equal Protection
                              U.S. Const. Amend. XIV
          All Plaintiffs Against All Defendants in Their Official Capacities


      198. The Plaintiffs incorporate Paragraphs 1-191 of the Third Amended

Complaint as if set forth fully herein.

      199. Plaintiffs bring this Count against all Defendants.

      200. The Equal Protection Clause of the Fourteenth Amendment, enforceable

pursuant to 42 U.S.C. § 1983, provides that no state shall “deny to any person within

its jurisdiction the equal protection of the laws.” U.S. Const. Amend. XIV, § 1.

      201. The Transgender Medical Restrictions set forth herein single out

transgender minors and adults and prohibit and restrict them from obtaining medically

necessary treatment based on their sex and transgender status.

      202. Under the Equal Protection Clause, government classifications based on

sex are subject to heightened scrutiny and are presumptively unconstitutional.

      203. Transgender-based government classifications are subject to heightened

scrutiny because they are sex-based classifications.



                                          -51-
  Case 4:23-cv-00114-RH-MAF         Document 118      Filed 07/27/23    Page 53 of 56




      204. Because       transgender    people    have    obvious,     immutable,    and

distinguishing characteristics, including having a gender identity that is different from

their birth sex, they comprise a discrete group. This defining characteristic bears no

relation to a transgender person’s ability to contribute to society. Nevertheless,

transgender people have faced historical discrimination and have been unable to

secure equality through the political process.

      205. As such, transgender classifications are subject at least to intermediate

scrutiny.

      206. The Transgender Medical Restrictions have no medical justification and

do nothing to protect the health or well-being of minors or adults. To the contrary,

these restrictions undermine the health and well-being of transgender minors and

adults by denying them and standing in the way of essential medical care.

      207. The Transgender Medical Restrictions are not narrowly tailored to

further a compelling government interest, substantially related to any important

governmental interest, or even rationally related to a governmental interest.

Accordingly, the Transgender Medical Restrictions violate the Equal Protection

Clause of the Fourteenth Amendment.

                               RELIEF REQUESTED

      WHEREFORE, Plaintiffs request that this Court:




                                          -52-
  Case 4:23-cv-00114-RH-MAF        Document 118       Filed 07/27/23   Page 54 of 56




      (1)    certify this case as a class action brought on behalf of Class 1, Class 2

             and Class 3 pursuant to Rule 23 of the Federal Rules of Civil Procedure;

      (2)    issue a judgment, pursuant to 28 U.S.C. §§ 2201–2202, declaring that

             the Transgender Medical Restrictions set forth herein violate the United

             States Constitution for the reasons and on the Counts set forth above;

      (3)    temporarily, preliminarily, and permanently enjoin the Defendants and

             their officers, employees, servants, agents, appointees, or successors

             from enforcing the Transgender Medical Restrictions set forth herein;

      (4)    declare that the Transgender Medical Restrictions set forth herein violate

             the Fourteenth Amendment to the United States Constitution;

      (5)    award the Plaintiffs their costs and attorneys’ fees pursuant to 42 U.S.C.

             § 1988 and other applicable laws; and

      (6)    grant such other relief as the Court finds just and proper.



Respectfully submitted this 21st day of July, 2023.

                                                      /s/ Simone Chriss
                                                      Counsel for Plaintiffs




                                         -53-
  Case 4:23-cv-00114-RH-MAF       Document 118    Filed 07/27/23      Page 55 of 56




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                                      -54-
  Case 4:23-cv-00114-RH-MAF        Document 118      Filed 07/27/23   Page 56 of 56




                         CERTIFICATE OF SERVICE


      I hereby certify that, on July 21, 2023, I electronically filed the foregoing with

the Clerk of the Court by using the CM/ECF system. I further certify that I served

by process server the foregoing on the following non-CM/ECF participants:

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                                                     /s/ Simone Chriss
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                                         -55-
